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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION

RALPH JOHN (“TREY”) FALLOWS, III,                      C.A. No. _________________________

                              PLAINTIFF,
                                                                     COMPLAINT
       vs.                                              (Declaratory Judgment & Jury Trial
                                                                     Demanded)
COASTAL CAROLINA UNIVERSITY,
MICHELYN PYLILO, individually,
and TRAVIS E. OVERTON, individually.

                    DEFENDANTS.
___________________________________


       NOW COMES Plaintiff Ralph John (“Trey”) Fallows, III, by and through his undersigned

attorney, Thomas C. Brittain, of The Brittain Law Firm, P.A., to respectfully allege as follows:

                                             PARTIES

       1.      Plaintiff Ralph John (Trey) Fallows, III (hereinafter known as "Trey Fallows") is a

citizen and resident of the State of New Jersey. During the events described herein, Trey Fallows

was a full-time student at Coastal Carolina University, located in Horry County, South Carolina.

       2.      Defendant Coastal Carolina University (hereinafter known as "CCU") is a public

university, located in Horry County, South Carolina.

       3.      Defendant Michelyn Pylilo (hereinafter known as “Officer Pylilo”) is a citizen and

resident of the State of South Carolina, County of Horry. During the events described herein,

Officer Pylilo was an employee of Defendant CCU in her official capacity as an Investigator.

       4.      Defendant Travis E. Overton (hereinafter known as “Dean Overton”) is a citizen

and resident of the State of South Carolina, County of Horry. During the events described




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herein, Dean Overton was an employee of Defendant CCU in his official capacity as Dean of

Students.

                                  JURISDICTION AND VENUE

        5.     This matter is properly before this Court because it involves issues of federal question

relating to Title IX of the Education Amendments of 1972 and 42 U.S. Code § 1983 and their

application to due process rights violations during CCU's investigating and adjudicating a sexual

assault allegation against Plaintiff Trey Fallows.

        6.     This Court has federal question jurisdiction, as well as supplemental jurisdiction

pursuant to 28 U.S.C. § 1367 and under 28 U.S.C. § 1332 because: (a) Trey Fallows’ primary claims

are federal questions; and (b) the state law claims are closely related, thereby forming the same "case

or controversy" under Article III of the U.S. Constitution.

        7.      This Court has personal jurisdiction over Defendant CCU because it conducts

business primarily within the State of South Carolina and is a state supported school.

       8.       Venue properly lies in the District of South Carolina's Horry Division pursuant to 28

U.S.C. §1391, because all or a substantial part of the events or omissions giving rise to the action

occurred in this judicial district and its division, specifically in or around the city of Conway in Horry

County, South Carolina.

                 THE NATURE OF THIS ACTION AND PROCEDURAL HISTORY

        9.      Plaintiff Trey Fallows seeks redress against Defendant CCU and others due to the

actions, omissions, errors, flawed procedures, negligence and/or gross negligence and overall bad

faith and intentional misconduct which to provide Trey Fallows a meaningful standard of due

process and equity, concerning the purported sexual assault allegation of rape made against him.




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Plaintiff Trey Fallows, at the time of the events subject to this Complaint, had been a male student at

Defendant CCU in good standing, with an excellent reputation.

          10.   The allegation was made by a female CCU student, Jane Doe, after an evening of

brief and aborted consensual sexual intercourse following Jane Doe and Trey Fallows’ date,

which was arranged by friends of both parties.

          11.   Trey Fallows, as a result of the 18-month suspension, tantamount to expulsion, has

been unable to complete his studies at CCU, with whatever monies spent on obtaining a college

education at CCU squandered.

          12.   In transferring to an equivalent university, substantial academic credits could not be

transferred and were thereby lost.

          13.   Trey Fallows’ emotional health has been greatly compromised by the entire ordeal.

          14.   Based on the foregoing and allegations set forth below, Trey Fallows brings this

action to obtain relief based on causes of action for, among other things, violations of both Title IX of

the Education Amendments of 1972 and 42 U.S. Code § 1983 and other misconduct as set forth

herein.

                                                    FACTS

          15.   Plaintiff Trey Fallows is a young man who grew up in a hard-working family of

achievement in Haddonfield, New Jersey. One of three children born to Ralph and Maryann

Fallows, he grew up working very hard and with an exemplary record. This is a young man who was

dutiful in church, civic affairs in school, who without exception, conformed his conduct to the right

and the best.

          16.   He loved golf and came to Coastal Carolina University, as many from New Jersey

and other states do, for its excellent golf program, and was thriving there. He was a member of a



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fraternity, Sigma Phi Epsilon, highly regarded by his friends and acquaintances and was achieving a

fine record both academically and in extracurricular activities at Coastal Carolina University.

       17.     It was commonly known by all his friends, and many of his acquaintances that Trey

Fallows was completely inexperienced in matters of sex. He was in fact a virgin at the age of 20; he

had never had sexual intercourse with anyone prior to the evening at hand.

       18.     Pursuant to CCU's Code of Student Conduct when allegations arise, an

Investigator is assigned by the university, in this matter, Vice President of Student Rights and

Responsibilities and its Dean of Students, Travis E. Overton.            In accord with the Student

Conduct Handbook, any Investigator assigned by CCU in determining responsibility for charges

of sexual misconduct shall have received appropriate training and must maintain complete

impartiality during the course of any investigation.

       19.     Also, in accord with the Code of Student Conduct, any faculty member serving as

a member of a Student Conduct Board to determine charges of sexual misconduct responsibility

shall have received appropriate training and must maintain complete impartiality prior to and

during any hearing.

I. Jane Doe and Trey Fallows Attend an Off-Campus Social Event

       20.     As was customary, his fraternity brothers arranged for an event where Trey and

others would have one or more “dates” as invitees to participate and enjoy a social event. Part of

the evening included going to a bar, Sharkey’s, on the boulevard in Myrtle Beach. Trey and Jane

Doe, the date that his fraternity brothers lined up for him, went there together. Trey picked her

up with a shy approach; she was much more comfortable in this setting than was he. He drove

them to Lackey Chapel on CCU’s campus and then traveled to the event in a taxi van along with

several others. During the night, she became very friendly with Trey. There were reported



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accounts of “sexy” dancing close to one another in a very suggestive manner. A video was taken

on a cell phone of them in many significant embraces with heavy petting and kissing while

returning from Sharkey’s back to campus. This conduct occurred in the presence of other CCU

students.

       21.     Trey Fallows and Jane Doe had consumed a small quantity of alcohol but neither

of them were drunk or intoxicated; alcohol was not served to them at Sharkey’s.

       22.     Trey returned Jane Doe to her dormitory area and she invited him “to come up to

her dorm room.” This was in the later hours of the evening.

       23.     There is video (CCU surveillance footage) of the two of them in a seemingly

jovial mood walking up the steps and headed towards her university housing.

       24.     Jane Doe’s two roommates were in their dormitory rooms, with their doors

closed. Jane Doe and Trey Fallows began to heavily pet on a bed/couch within the larger

confines of the dormitory setting. She took off her blouse after heavy petting. At some point,

she got up and went to the common bathroom that served the dormitory area, in close proximity

to the doors of her roommates, without waking them and retrieved a condom. She brought the

condom back and gave it to Trey, saying, “You are going to need this.” She had no problems

walking to the bathroom to find the condom or returning. Trey testified that he had some

difficulty, as he called it, “getting the angle right” and as he tried, the condom burst and both of

them became concerned about what might have occurred. This was early in the effort. They

went to the bathroom. Jane Doe was upset and Trey, in this situation, instead of staying around,

left Jane Doe alone (except for the two roommates still apparently asleep).




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II. Jane Doe Files False Rape Allegations Against Trey Fallows

        25.     Jane Doe later, after drinking alcohol, called “a friend” who attended her. She

slept with that male friend and went to the hospital the next day, where among other things, she

stated that “this is all my fault” or similar words to that effect, to hospital personnel.

III. Defendant CCU’s Mishandling of Jane Doe’s Complaint

        26.     Into this set of circumstances comes Michelyn Pylilo, an investigator at CCU,

who has a history of disregarding the rights of anyone who has been accused of misconduct of a

sexual nature. Upon information and belief, she has bragged about the fact that she will always

go the extra mile for the victim and disregard, if necessary, the statements of anyone so accused.

She browbeat Trey Fallows into admitting any of the circumstances associated with this matter,

none of which indicated that he was guilty in any way, but forcing him to modify his version of

events after repeated questioning, all in violation of his constitutional rights with an intention to

do him harm and had him arrested upon false accusations when he was clearly innocent in the

absence of probable cause. Upon information and belief, this is a pattern for Defendant Pylilo

and has occurred on numerous occasions. Further, Dean Overton and CCU officials are aware of

her prejudice, improper conduct, and overzealous actions.

        27.     Thereafter, Trey posted bond. Both his parents and he had expenses for an

attorney, a private investigator, and toxicologist. He sought justice through the CCU process of

determining these matters and found none.

        28.     Dean Overton, upon information and belief, had no specialized training in the

investigation and administrative prosecution of a nonconsensual sex or sexual assault allegation.

As an Investigator and CCU state official, Dean Overton showed an ineptitude and/or

demonstrated an anti-male gender bias against Trey Fallows in the following manner:



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          a.      Dean Overton as Investigator, when questioning Trey Fallows throughout the

process, his line of questioning was hostile in nature, more akin to cross-examination in tenor to

illicit a confession, rather than an objective attempt to factually reconstruct an event;

          b.      Dean Overton as Investigator had been provided the names of several potential

witnesses who knew of evidence in exoneration of Trey Fallows (i.e. Trey Fallows’ virginity).

Specifically, Trey Fallows provided the identities of others at the event, in the taxi van, and at the

campus dorm.       These witnesses had observed Jane Doe’s interactions with Trey Fallows,

providing corroborating evidence of subjective and objective consent. Several of these witnesses,

among others, also had information regarding Jane Doe’s experience in such matters. Despite

having all these witnesses and ample time to investigate the matter, Defendant’s either refused or

failed to properly adjudicate the issues, with the effect of adopting Jane Doe’s preposterous claim

in spite of the facts;

          Further, Dean Overton refused to let Trey Fallows “confront” witnesses, refused to let

 him get information concerning what the witnesses had said, denied him the right of cross-

 examination, confrontation of his witnesses, and due process of law. That Trey Fallows fully

 participated in this process and was honest throughout. He further requested that he be allowed

 to record the hearing at CCU to determine his fate and was denied that opportunity. With

 flippancy, Dean Overton’s office indicated that “they” would be recording it. Evidence at the

 hearing was clearly in Trey Fallows’ favor. His virginity was not questioned, the condom

 exchange was not in dispute, a highly regarded expert testified that Jane Doe was not intoxicated

 so as to not consent, the hospital record of her admission was not denied. The deciders,

 professors and administrators were led by the Dean and the Assistant Dean to a ridiculous

 decision, suspending Trey Fallows from attendance at Coastal Carolina University, tantamount



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to expulsion. When Trey Fallows attempted to appeal the hearing result, Coastal Carolina

University said they had “lost” the tapes and so it was impossible for him to appeal the decision

to the appellate authorities within their system.

       29.      Furthermore, upon information and belief, this is a pattern for Coastal Carolina

University. Defendants Overton and Pylilo and this process has been skewed against certain

students with a purpose under similar circumstances on numerous occasions including, but not

limited to: Ray Lewis, Trey Fallows and Jared Sayers, among others. There is a predilection to

deprive students under these circumstances of their rights in violation of Title IX and Section 42

U.S. Code § 1983. This consistent deprivation of the rights of such students establishes 42 U.S.

Code § 1983 violations consistent with the factors under Monell. Credibility and character of the

accuser is critical when the accused is faced with a charge that amounts to nothing more than “he

said, she said.” No due process protections are in place.

       30.      Trey     Fallows’   18-month    suspension   sanction    was     unwarranted   and

disproportionate. This is arbitrary and capricious, as well as willful and wanton bad faith

conduct by all of the Defendants.

       31.      Based on the foregoing Trey Fallows’ disciplinary record is irrevocably and

irreversibly tarnished, as well as the present collegiate academic, athletic career and acceptance

into graduate studies programs completely compromised, thereby jeopardizing future career

prospects and economic success.

                                   FOR A FIRST CAUSE OF ACTION
                       (Violation of Title IX of the Education Amendments of 1972)

       32.      Trey Fallows repeats and realleges each and every allegation above, as if fully set

forth herein.




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       33.      Title IX of the Education Amendments of 1972 applies to an entire school or

institution if any part of that school receives federal funds; hence, athletic programs are subject

to Title IX of the Education Amendments of 1972, even though there is very little direct federal

funding of school sports.

       34.      Upon information and belief, CCU receives millions of dollars in federal funding

for research and development, as well as student financial aid.

       35.      Both the Department of Education and the Department of Justice have

promulgated regulations under Title IX that require a school to "adopt and publish grievance

procedures providing for the prompt and equitable resolution of student... complaints alleging

any action which would be prohibited by" Title IX or regulations thereunder. 34 C.F.R. §

106.8(b) (Dep't of Education); 28 C.F.R. § 54.135(b) (Dep't of Justice). Such prohibited actions

include all forms of sexual harassment, including non-consensual sexual intercourse, sexual

assault, and rape.

       36.      The procedures adopted by a school covered by Title IX must not only "ensure

the Title IX rights of the complainant," but must also "accord due process to both parties

involved....”

       37.      The "prompt and equitable" procedures that a school must implement to "accord

due process to both parties involved" must include, at a minimum:

       a.       "Notice . . . of the procedure, including where complaints may be filed";

       b.       "Application of the procedure to complaints alleging [sexual] harassment...";

       c.       Adequate, reliable, and impartial investigation of complaints, including the

opportunity to present witnesses and other evidence";




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       d.      "Designated and reasonably prompt timeframes for the major stages of the

complaint process"; and

       e.     "Notice to the parties of the outcome of the complaint..."

       38.      A school also has an obligation under Title IX to make sure that all employees

involved in the conduct of the procedures have "adequate training as to what conduct constitutes

sexual harassment, which includes alleged sexual assaults."

       39.      Based on the foregoing, CCU deprived Trey Fallows, on the basis of his sex,

rights to due process and equal protection through the improper administration of and/or the

existence, in its current state, of CCU's guidelines and regulations.

       40.      Based on the foregoing, CCU shut Trey Fallows out of the CCU's community

by denying a fair process even with denying an appeal based on formality and mishandling the

preservation of evidence that was all to Trey Fallows benefit.

       41.      And it did so, without conducting a full and fair investigation to the matter,

denying confrontations, full disclosure of information, Dean and Administrator taking sides against

Trey Fallows and others like him, refusing to follow Secretary Devos’ insistence on improvements

as to due process for the accused, advising the “panel” without Trey Fallows’ presence, denying

Trey Fallows and others the right to have meaningful representation of counsel (not allowed to talk).

       42.      CCU conducted its investigation of Jane Doe's allegation in a manner that was

biased against the male being accused. Based on CCU investigators' questions and treatment of Trey

Fallows, the investigation was slanted in favor of Jane Doe and took her statements at face-value,

while mischaracterizing or disbelieving Trey Fallows’ statements.       Despite the obvious truth of

consensual very brief sexual intercourse (she brought the condom).




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       43.      Throughout the process, CCU officials treated Trey Fallows as "guilty before

proven innocent."

       44.      By unlawfully losing, misplacing, or purposely erasing the tapes of the “hearing,”

Trey Fallows’ right to establish his innocence was irrevocably prevented.             No independent

administration given those facts could have gone along with the conduct of the Defendants Overton

and Pylilo, or the panel which always does, and here did, what the Dean insists on.

       45.      CCU has created an environment in which an accused male student is

effectively denied fundamental due process by being prosecuted through the conduct process

under the cloud of a presumption of guilt. Such a one-sided process deprived Trey Fallows, as a

male student, of educational opportunities at CCU on the basis of his sex.

       46.      CCU failed and/or refused to follow its own policies and procedures for Trey

Fallows as the male accused of sexual assault when it found Trey Fallows responsible for sexual

assault in the face of overwhelming facts to the contrary, its failure to interview additional

witnesses in support of Trey Fallows’ defense, and failure to present any significant evidence of

wrongdoing in support of the claim that Jane Doe engaged in non-consensual sex with Trey

Fallows, except for Jane Doe's “buyer’s remorse” claims in the direct contradiction of the

admitted evidence. The Fifteenth Judicial Circuit Solicitor dismissed the resulting charge of

criminal sexual conduct in regard to Trey Fallows without even a presentment to the grand jury.

       47.      CCU’s policies effectuate a denial of due process for the student population,

especially the male student population, in their current state because they are set up to encourage

and facilitate the reporting of false reports of sexual misconduct and/or other grievances without

any recourse for the falsely accused, even when overwhelming evidence of innocence is present.




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       48.      Based on the foregoing, CCU imposed sanctions on Trey Fallows that were

unwarranted and unjustified and without proper consideration of his clean disciplinary record at

CCU, and without providing any written justifiable summary for the basis thereof.

       49.      Based on the foregoing, upon information and belief, CCU's guidelines and

regulations disproportionately affect the male student population of the CCU community as a

result of the higher incidence of female complainants of sexual misconduct against male

complainants of sexual misconduct.

       50.      Based on the foregoing, upon information and belief, male respondents in sexual

misconduct cases at CCU are discriminated against solely on the basis of sex. They are

invariably found guilty, regardless of the evidence, or lack thereof.           Defendant Pylilo is

committed to convicting everyone charged, regardless of the evidence.

       51.      As a result of the foregoing, Trey Fallows is entitled to damages in an amount to

be determined at trial, plus prejudgment interest, attorneys' fees, expenses, costs and disbursements.


                          AS AND FOR THE SECOND CAUSE OF ACTION
                                 (Violations of Title IX OCR Rules)

       52.      Each and every allegation set forth herein in the pages of this complaint are

reiterated here as if being re-pled. OCR requires colleges to ensure that employees "likely to

witness or receive reports of sexual harassment and violence" receive training on practical

information about how to identify, report and investigate sexual misconduct.

       53.      OCR requires colleges to process complaints of sexual misconduct in accordance

with its established procedures.

       54.      OCR requires colleges to engage in the "prompt, thorough, and impartial"

investigation of an allegation of sexual misconduct.



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       55.        OCR requires colleges to designate a Title IX coordinator to oversee all Title IX

complaints and identify and address any patterns or systemic problems that arise during the

review of such complaints.

       56.        OCR requires colleges to ensure that their Title IX coordinators have adequate

training on what constitutes sexual harassment, including sexual violence, and that they

understand how the college's grievance procedures operate.

       57.        OCR requires colleges to utilize adequate, reliable, and impartial investigation of

complaints, including an equal opportunity for both parties to present relevant witnesses and

other evidence.

       58.        OCR requires colleges to afford to the complainant and the accused student

similar and timely access to any information that will be used at the hearing.

       59.        OCR requires colleges to maintain documentation of all proceedings, which

includes written findings of facts, transcripts or audio recordings.

       60.        OCR requires colleges to ensure that all employees are trained with respect to

applicable confidentiality requirements.

       61.        OCR requires that all colleges must provide due process to the alleged perpetrator.

       62.        CCU failed and/or refused to follow its own policies and procedures for Trey

Fallows as the male accused of sexual assault when it found Trey Fallows responsible for sexual

assault, even in the face of clear evidence of overwhelming nature to the contrary.

       63.        CCU failed and/or refused to adhere to its own policies and procedures when it

failed to follow up on Trey Fallows concerns about Jane Doe's credibility and the credibility of

her complaint about the evening in question.




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        64.      CCU has created an environment where an accused male student is

fundamentally denied due process by being prosecuted through the conduct process under a

presumption of guilt. Such a one-sided process deprived Trey Fallows, as a male student, of

educational opportunities at CCU on the basis of his sex.

        65.      CCU's stated policies and procedures, together with its violations of them thereof

only with respect to Trey Fallows as the male accused of sexual assault, demonstrates CCU's

gender-biased practices with respect to males accused of sexual assault at CCU, including

allowing an admittedly biased security officer to initiate and participate in the process.

        66.      As a result of the foregoing, Trey Fallows is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys' fees, expenses, costs and disbursements.

                          AS AND FOR THE THIRD CAUSE OF ACTION
                                    (Breach of Contract)

        67.      Trey Fallows repeats and realleges each and every allegation hereinabove as if

fully set forth herein.

        68.      Based on the aforementioned facts and circumstances, CCU breached express

and/or implied agreement(s) with Trey Fallows.

        69.      CCU committed several breaches of its agreements with Trey Fallows, including,

without limitation “enforcement” of its Code of Student Conduct.

        70.      The Code of Student Conduct requires, without exception, student participation in

the student conduct process and a fair and equal process for both the accuser and the accused.

        71.      CCU's Student Conduct Handbook and/or its sexual harassment policy include) and

procedures, including alleged sexual misconduct, among other things:

        “The University does not discriminate on the basis of race, color, national origin,

        sex age, disability, creed, religion, sexual orientation, or veteran status in


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       admission and access to, and treatment and employment in, its educational

       programs and activities.”

       72.     Based on the foregoing, CCU conducted its investigation of Jane Doe's allegation

in a manner that was biased against the male being accused. Based on CCU investigators'

questions and treatment of Trey Fallows, the investigation was slanted in favor of Jane Doe, her

statements were taken at face-value and her admissions, video evidence and clear proof of

innocence were disregarded, while mischaracterizing Trey Fallows statements and those of

several witnesses. CCU engaged in gender discrimination Trey Fallows.

       73.     Defendants Pylilo and Dean Overton were dismissive of relevant evidence between

Trey Fallows and Jane Doe.         CCU's decision to exclude exculpatory evidence from its

investigation foreclosed Trey Fallows from the opportunity to adequately defend the allegation

against him and provided a slanted view of the facts in favor of the complainant. All she claimed,

without denying the condom, her request that he come to her room, the heavy foreplay, obvious

intimacy in the presence of others, claiming it was her fault, was that sometime after “it” started

she wanted to stop without expressing it. Further, “it” was a brief and aborted effort.

       74.     Pursuant to CCU's sexual misconduct policies and procedures, any Investigator or

Student Conduct Board in charge of determining responsibility for charges of sexual misconduct

shall have received appropriate training, which upon information and belief was nonexistent and/or

inadequate.




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        AS AND FOR THE FORTH CAUSE OF ACTION TO ALL DEFENDANTS
                      COASTAL CAROLINA UNIVERSITY, and
                OVERTON and PYLILO, IN AN INDIVIDUAL CAPACITY
                          (Violations of 42 U.S. Code § 1983)


       75.     Each and every allegation set forth herein in the pages of this complaint are

reiterated here as if being re-pled as a preface to claims for violations of Trey Fallows’ rights as

protected pursuant to 42 U.S. Code § 1983. That all Defendants operate under the color of state

law.

       76.     That the failure set forth herein and the violations of Trey Fallows’ fifth

amendment right against self-incrimination, his right to confront witnesses, his right to an

attorney to assist him in a matter of significance, his right to receive full notice of any claims

against him. All basic constitutional rights available to all citizens, especially and including

those of a tender age, citizens and students of a university. Each and every one was denied in

connection with the matters as set forth herein.

       77.     That his fifth amendment rights, fourteenth amendment rights of due process,

right to counsel, right to freedom of speech, first amendment rights, all have been consistently

deprived by CCU. CCU’s conduct in this matter is of a repeated nature in numerous cases where

all of these deprivations as to male students accused under these circumstances have been

submitted to a biased and prejudiced security officer and Dean in the administration of these

cases. That the Monell factors are present, as plead, in regard to the § 1983 violations against

CCU, which receives substantial state and federal funding.

       78.     Further, that Defendant Pylilo as set forth herein has systematically and with

intention, deprived Trey Fallows and others of constitutional rights in violation of 42 U.S. Code

§ 1983 to improperly use techniques to damage him and his testimony, with a improper purpose



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and bias. Failure to give him notice of the claims against him, violating his fifth amendment

rights, his right to counsel, acting with prejudice towards this accused and others in his position

in violation of due process rights of the fourteenth amendment. Falsely having him arrested.

       79.       As to the Defendant Travis Overton, that he oversaw the system set forth herein

and with consistent regularity to deprive a male student such as Trey Fallows of his due process

rights, his right to counsel, his right to confront his witnesses, his right to present a defense, his

first amendment rights, and his right to appeal, all of which are consistent with and result in his

violation of the personal constitutional rights of Trey Fallows.

       80.       As a direct and foreseeable consequence of the Defendants, each of them, in

violation of the rights of the Plaintiff, as set forth herein, Trey Fallows has sustained significant

damage to freedom, reputation, incurred expenses, and significant emotional distress.

       81.       As a result of the foregoing, Trey Fallows is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                     PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against Defendants

as follows:

       (i) on the First and Second Cause of Action for violation of Title IX of the Education

Amendments of 1972 and the Second Cause of Action for violation of OCR Rules, a judgment

awarding Plaintiff damages in an amount to be determined at trial, including, without limitation,

damages to physical well-being, emotional and psychological damages, damages to reputation, past

and future economic losses, loss of educational, athletic and career opportunities, and loss of

future career prospects, plus prejudgment interest, attorneys' fees, expenses, costs and

disbursements;



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       (ii) on the Third Cause of Action for breach of contract, a judgment awarding Plaintiff

damages in an amount to be determined at trial, including, without limitation, damages to physical

well-being, emotional and psychological damages, damages to reputation, past and future economic

losses, loss of educational and career opportunities, and loss of future career prospects, plus

prejudgment interest, attorneys' fees, expenses, costs and disbursements;

       (iii) on the Forth Cause of Action for violations of 42 U.S. Code § 1983, a judgment

awarding Plaintiff damages in an amount to be determined at trial, including, without limitation,

damages to physical well-being, emotional and psychological damages, damages to reputation, past

and future economic losses, loss of educational and career opportunities, and loss of future career

prospects, plus prejudgment interest, attorneys' fees, expenses, costs and disbursements; and in all

regards punitive damages; and

       (iv) awarding Plaintiff such other and further relief as the Court deems just, equitable and

proper, to include but not limited to punitive damages if allowed.



                                       THE BRITTAIN LAW FIRM, P.A.


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    April 23, 2019
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